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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                           JUDGE DANIEL D. DOMENICO

 Criminal Case No.: 1:20-cr-00305-DDD-01           Date: November 12, 2024
 Courtroom Deputy: Robert R. Keech                 Court Reporter: Tammy Hoffschildt
 Probation Officer: Josh Roth                      Interpreter: N/A

  Parties:                                                 Counsel:

  UNITED STATES OF AMERICA,                                Bryan D. Fields
                                                           Sarah H. Weiss
       Plaintiff,

  v.

  MICHAEL AARON TEW,                                       Jason D. Schell
                                                           Kristen M. Frost
       Defendant.


                                 COURTROOM MINUTES


 SENTENCING HEARING

 1:36 p.m.     Court in session. Defendant present, on bond.

                Defendant found guilty at trial on February 15, 2024 (Day 9) to
                Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20,
                21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39,
                40, 41, 42, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57, 58,
                59, and 60 of the Indictment.

 Appearances of counsel.

 Parties received and reviewed the presentence report and all addenda.

 Statements made by counsel for Government, counsel for Defendant, and Defendant on
 his own behalf.

 After consideration of the provisions of 18 U.S.C. 3553 (a), the Court announces the
 sentence it intends to impose as reflected in the record.

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 ORDERED: [575] Defendant’s Motion is GRANTED IN PART.

 ORDERED: Defendant is sentenced to a term of imprisonment of 42 months on each
          of the fraud and money laundering counts (counts 1-42, and 44-56)
          and 12 months on the tax counts (counts 57-60), all to run
          concurrently. Upon release from imprisonment, Defendant shall be
          placed on supervised release for a period of 3 years. $5,600.00 special
          assessment to be paid immediately.

 Conditions and special conditions as set forth on the record.

 Defendant advised of right to appeal.

 Court RECOMMENDS the Bureau of Prisons place the Defendant at F.P.C. Duluth, MN.

 ORDERED: Bond is CONTINUED.

 2:31 p.m.    Court in recess. Hearing concluded. Total time: :55




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